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Case 1:20-cv-01225-PX Document 71-40 Filed 12/20/21 Page 3 of 19
From: info <info@peta.org>
Sent: Thu, 05 Apr 2007 12:23:51 -0400
To: Jen O'Connor <JenoWpeta.org>
Subject: FW: Cumberland, MD Zoo-Urgent
From: christi mcdonald| confidential
Sent: Wednesday, April 04, 2007 7:03 PM
To: info
Subject: Cumberland, MD Zoo-Urgent
Dear Peta,
On April the 2nd i was in Cumberland, Maryland visiting my family(I'm originally from South Bend, In)
when we decided to visit the only zoo in town. This zoo is called Tri-County Zoological Society or
something close, but it's the only one in town. Just last year sometime in the fall I was informed that they had
a fire. They lost a lot of animals. Now. taking that into consideration the living conditions for the animals
were less than adequate. It looked like I was visiting a third world country. These animals had brown water,
hardly any food, and they just looked miserable. The cages were barb-wired and muddy and the entire facility
smelled of feces. While we were looking at the male lion we were informed that if we walked back in forth in
front of his cage he might mistake us for food, and his cage was what I would consider unsafe. I couldn't stop
thinking about what I could do to help all day and then i decided to contact you guys. Please help these poor
animals. I would really appreciate if you could keep me up to date with this. Also, I apologize for not taking
any pictures.
Kaitlyn McDonald




                                                                                                                   Case 1:20-cv-01225-PX Document 71-40 Filed 12/20/21 Page 4 of 19
South Bend, In 46628
Confidentia
PETA005035
*
From: info <info@peta.org>
Sent: Mon, 25 May 2009 12:12:52 -0400
To: Teresa Marshall <teresam@peta.org>
Subject: FW: Ask PETA a Question Form
From: | Confidential
Sent: Sunday, May 24, 2009 6:45 PM
To: info
Subject: Ask PETA a Question Form
peta_general
PETA's Online
Community
First Name Mattie
Last Name Elks
Address 1) confidential
Address 2
City
County
State/Province
Country
Zip/Postal
Code




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Tel.
E-Mail
Subject Line of Tri State Zoo
E-Mail
PETA005085
*
Your Message On May 24, 2009 I went to the
(please include Tri state Zoo located in
all relevant Cumberland MD. I witnessed
details) the conditions of the birds that
they are keeping there. They are
crammed into a small building
with a metal roof and only a
door for ventilation. It was
around 80 degrees today and it
was cooler outside the bird
room then inside. The floor was
dirty, the birds paper was dirty,
no toys, some did not have
proper perches; some did not
have clean water. So birds were
in cages that were too small for
them. People could poke and
prod the animals, no locks on
the bird cages. Also I witnessed
a very large albino boa located
in a large parrot cage without




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heat lights and just a water
bowel. The outside aviary was
a little better but I was greeted
by a large cockatoo and he
stuck his entire head outside the
bars to be petted. I also
witnessed cats with hair
problems and a rabbit missing
hair. I asked an employee of the
park when they clean the bird
cages and the employee stated
to me â?oWhen we get around
to itâ?. I am not an expert on
animal abuse but I do believe
with the conditions of the
animals there and the condition
on the building the birds and
some reptiles were living in
that they are suffering from
neglect. I do have some
pictures of the bird room that I
would like to send to you.
Thank you for your time and
consideration into this matter
Mattie Elks
Does your e- No
mail involve an
animal in
immediate
danger?
Address Where 10105 Cottage Inn Lane,
Animal Is Cumberland MD 21502
Located
City Where Tri State Zoological Park
Animal Is
Located
County Where
Animal Is
Located
State Where MD
Animal Is
Located
Sign me up for
PETA E-News
and special
announcements
from PETA.




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                                                                    Peet Decl. - Exhibit I
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Case 1:20-cv-01225-PX Document 71-40 Filed 12/20/21 Page 13 of 19
Case 1:20-cv-01225-PX Document 71-40 Filed 12/20/21 Page 14 of 19
From: "CID Info" <CID Info@peta.com>
Sent: Thu, 17 Jul 2008 13:04:31 +0000
To: Teresa Marshall <teresam@peta.org>
Subject: zoo in Cumberland, MD
Confidential
Timothy Kellerhouse
No email
Comp has been trying to get US Fish and Wildlife to visit a house;the woman who lives at the house
has an endangered species tiger cub in herfreezer; she’s trying to find someone to taxidermy
him/her; comp can’tcall DNR b/c the woman is friends w/a DNR employee; the woman volunteers
at azoo in Cumberland, MD where animals die regularly; when tiger cubs die (happensoften), they
are given away to people to have them stuffed; conditions at thezoo are bad; animals are starved
and/or given rotten food; a/b 100 animals diedin fire and the zoo was fined; also comp knows of a
kangaroo who died
PETA005069
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